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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION AT DAYTON


JORDAN AMLIN                                                  CASE NO.3:21cv230


       Plaintiff,
                                                              JUDGE WALTER H. RICE
V.



KULDEEP SINGH,et al.

       Defendants.



                    ORDER OF DISMISSAL; TERMINATION ENTRY



       The Court having been advised by counsel for the parties that the above matter has been

settled, IT IS ORDERED that this action is hereby DISMISSED,with prejudice as to the parties,

provided that any of the parties may, upon good cause shown within 60 days, reopen the action if

settlement is not consummated.


       Parties intending to preserve this Court's jurisdiction to enforce the settlement should be

aware oiKokkonen v. Guardian Life Ins. Co. ofAmerica, 114 S.Ct. 1673 (1994), and incorporate

appropriate language in any substituted judgment entry.

       The Court will retain jurisdiction to enforce the terms ofthe settlement between the parties,if

necessary.


       IT IS SO ORDERED.




                                              WALTER H. RICE, JUDGE
                                              UNITED STATES DISTRICT COURT
